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 4                                 IN THE UNITED STATES DISTRICT COURT
 5                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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 7   UNITED STATES OF AMERICA,                                    CASE NO. 1:06-CR-00313 LJO
 8                                                                ORDER GRANTING REAL PARTY
                              Plaintiff,                          IN INTEREST’S (FRESNO POLICE
 9            vs.                                                 DEPARTMENT) MOTION TO QUASH
                                                                  RULE 17c SUBPOENAS
10   PHAT SAM, et al.,
11                            Defendants.
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13            The Court has received and reviewed the Fresno Police Department's motion to quash the
14   currently outstanding Rules of Criminal Procedure Rule 17c subpoena, as well as Defendant Phat Sam's
15   opposition the motion.
16            Admissibility at trial PLUS Specificity of the subpoena PLUS defense investigation obligations
17   PLUS relevance do not equal the right to a Rule 17c subpoena. That sought by the defendant in the 17c
18   subpoena is being used to obtain discovery in this criminal case. This is prohibited. United States v
19   Nixon, 418 U.S. 683, 698; United States v Arditti 955 F.2d 331, 346 (9th Cir. 1992).
20            The motion to quash is GRANTED. The Motion Hearing currently set for June 12, 2009 is
21   VACATED.
22   IT IS SO ORDERED.
23   Dated:         June 8, 2009                         /s/ Lawrence J. O'Neill
     b9ed48                                          UNITED STATES DISTRICT JUDGE
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